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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
_____________________________________
                                      )
KHALID AHMED QASSIM,                  )
                                      )
            Petitioner,               )
                                      )
      v.                              )  Civil Action No. 1:04-cv-01194 (TFH)
                                      )
DONALD J. TRUMP, et al.,              )
                                      )
            Respondents.              )
                                      )


                             RESPONDENTS’ RESPONSE TO
                         THE BRIEF OF AMICI LAW PROFESSORS

       Respondents respectfully submit this response to the Brief of Amici Law Professors, ECF

No. 1175 (“Br. of Amici”), pursuant to the Court’s March 9, 2020 Order, ECF No. 1174.

       In their Opposition to Petitioner’s Motion to Modify Section I of the Case Management

Order as it Pertains to Petitioner’s Case, ECF No. 1166 (“Resps’ Opp’n”), Respondents detailed

how the Court and the parties had been guided by the Supreme Court’s instructions in

Boumediene v. Bush, 553 U.S. 723 (2008)—and by case law from contexts in which the Due

Process Clause inarguably applied—when crafting the case management order and protective

order governing these proceedings. See Resps’ Opp’n at 5–13.1 Thus, as Respondents explained

in their Opposition, the current framework provides Petitioner protections consistent with the

Due Process Clause, if it applied in this setting. See id. at 28–34.
       1
         In light of this consistent approach—through which Respondents have, for over a
decade, worked to ensure that the procedural requirements for meaningful review set out in
Boumediene are not only met but exceeded—amici plainly err in suggesting a “resistance to
Boumediene” on the part of the Government. Br. of Amici at 3. Indeed, although amici accuse
Respondents of “seek[ing] to gut the habeas remedy,” id. at 4, and contend that Petitioner “has
not been afforded adequate process,” id. at 7, they do not identify in their submission even a
single example of any specific procedural protection that they contend Petitioner should have,
but to which he does not presently have access. See id., generally.
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       Like Petitioner, amici overlook that reality and submit argument regarding abstract

constitutional issues that this Court need not and should not reach. See, e.g., Qassim v. Trump,

927 F.3d 522, 530 (D.C. Cir. 2019) (a Court should “not pass on questions of constitutionality

unless such adjudication is unavoidable”) (quoting Matal v. Tam, 137 S. Ct. 1744, 1755 (2017)

(alterations incorporated)). Rather than acknowledging the extensive procedural protections

available under the current framework, amici take aim at what they characterize as the

Government’s position: the idea that Petitioner is entitled to no procedural protections at all in

the context of this habeas litigation. Setting aside that this contention bears no relationship to the

robust protections actually available to Petitioner, it also is not an accurate statement of the

position taken by the Government in this litigation. From the outset of the Court’s and the

parties’ efforts to construct a procedural framework for this unique litigation, Respondents have

looked to the Supreme Court’s guidance in Boumediene as to the procedural protection that must

be provided to petitioners in these habeas cases, and have in many respects exceeded those

minimum requirements by proposing to follow procedures from settings in which the Due

Process Clause inarguably does apply. See Resps.’ Opp’n at 5–13, 28–34 (describing the

development of the procedural framework and explaining how it comports with what the Due

Process Clause would require).

       Amici also err in describing Respondents’ position in this case as one that “noncitizens

outside the de jure sovereignty of the United States are . . . categorically excluded from the

protections of the Constitution,” Br. of Amici at 2–3. And they are mistaken in the three

arguments they advance against that straw man. First, amici err in arguing that the reasoning of

Boumediene as to the Suspension Clause, including consideration of certain specific factors,

should be extended to the Due Process Clause. See id. at 2–3, 5–8. The analysis in Boumediene

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itself does not support such an extension, a point explicitly recognized by the Court of Appeals.

The second argument amici advance, that habeas proceedings lacking adequate procedural

protections amount to a suspension of the writ, fares no better. To be sure, amici are correct that

habeas proceedings that deny adequate protections could amount to a suspension of the writ. But

that argument has no application here, as the operative framework provides those procedural

protections that the Supreme Court has mandated for these unique habeas cases, including

through protections analogous to those available when the Due Process Clause applies. Finally,

amici are wrong in arguing that application of the Due Process Clause to these proceedings

would not be extraterritorial because this habeas case is before a federal district court in the

United States; the precedent demonstrates that it is a party’s presence or property in the United

States that determines whether the Due Process Clause applies, rather than the location of the

judicial proceedings in the United States.

       For all these reasons, and for the reasons explained in Respondents’ Opposition, the

Court should deny the Petitioner’s Motion to Modify § I of the Case Management Order as it

Pertains to Petitioner’s Case, ECF No. 1162 (“Petitioner’s Motion”).

                                             ARGUMENT

       I.      This Court Should Not Extend Boumediene’s Analysis Regarding the
               Suspension Clause.
       Amici submit that “[a]lthough Boumediene dealt specifically with the Suspension Clause,

the government has suggested no reason why the analysis should be any different with respect to

the Due Process Clause.” Br. of Amici at 3. In fact, there are three. First, the Supreme Court’s

three-factor analysis in Boumediene depends upon the particular history and role of the

Suspension Clause in the separation-of-powers framework set forth in the Constitution. Second,



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guided by the limitations inherent in Boumediene’s holding and reasoning, the Court of Appeals

in Rasul v. Myers, 563 F.3d 527, 529 (D.C. Cir. 2009), expressed disagreement with the

argument that Boumediene created a generally-applicable test for the extraterritorial application

of constitutional rights beyond the Suspension Clause—the very argument that amici advance

here.2 Third, the Court of Appeals has recognized that even if “Boumediene ha[d] eroded the

precedential force” of the case law addressing the extraterritorial reach of the Due Process

Clause, such a decision would be for the Supreme Court alone to make. Id. For all these

reasons, this Court should reject amici’s argument.

       A. The Supreme Court in Boumediene Limited its Holding to the Suspension
          Clause.
       To begin with, in arguing that Boumediene’s three-factor test under the Suspension

Clause should apply with respect to the Due Process Clause, Br. of Amici at 7, amici overlook

that, time and again, the Supreme Court in Boumediene emphasized that “[t]he broad historical

narrative of the writ [of habeas corpus] and its function [was] central to [its] analysis.” 553 U.S.

at 746; see also Resps’ Opp’n at 40–41. Recognizing that “protection for the privilege of habeas

corpus was one of the few safeguards of liberty specified in a Constitution that, at the outset, had

no Bill of Rights,” id. at 739, the Supreme Court reasoned: “[i]n the system conceived by the

Framers the writ had a centrality that must inform the proper interpretation of the Suspension

Clause.” Id.; see also id. at 740 (“history counseled the necessity for specific language in the

Constitution to secure the writ and ensure its place in our legal system”). The Court cited

“evidence that the Framers deemed the writ to be an essential mechanism in the separation-of-

       2
          Amici contend that an application of the Due Process Clause to these proceedings would
not be extraterritorial because the proceedings are located in a federal district court in the United
States, but, as discussed below, see infra Section III, no case supports such a narrow definition of
extraterritoriality.

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powers scheme,” id. at 743; subsequent historical developments that “verif[ied] their foresight,”

id. at 745; and the role of the Suspension Clause in “protect[ing] the rights of the detained by a

means consistent with the essential design of the Constitution,” id., and concluded: “the

separation-of-powers doctrine, and the history that influenced its design, therefore must inform

the reach and purpose of the Suspension Clause.” Id. at 746; see also id. at 765.

       Thus, rather than suggesting that its decision would apply with respect to any “relevant

constitutional provision,” Br. of Amici at 7, the Supreme Court focused specifically on “[t]he test

for determining the scope of [the Suspension Clause],” explaining that “the writ of habeas corpus

is itself an indispensable mechanism for monitoring the separation of powers.” Boumediene, 553

U.S. at 765; id. at 765–66 (“[separation of powers] concerns have particular bearing upon the

Suspension Clause question in the cases now before us”). Accordingly, Boumediene’s standard

for determining whether the Suspension Clause extends to detainees at Guantanamo Bay does

not apply ipso facto with respect to the Due Process Clause and must instead be understood as

limited to the Suspension Clause, in light of that Clause’s centrality to the separation of powers.

       B. The Court of Appeals Has Expressed its Disagreement with the Very Argument
          to Extend Boumediene that Amici Propose.
       Recognizing the limitations stated in Boumediene’s holding and implied in its reasoning,

the Court of Appeals in Rasul disapproved of the argument amici advance here—that

Boumediene’s three-factor test applies beyond the Suspension Clause. See 563 F.3d at 529

(referring to claims brought by detainees at Guantanamo Bay). The Court of Appeals explained

that “[t]he [Supreme] Court acknowledged that it had never before determined that the

Constitution protected aliens detained abroad, and explicitly confined its constitutional holding

‘only’ to the extraterritorial reach of the Suspension Clause.” Id. (quoting Boumediene, 553 U.S.



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at 795). Further, “[t]he [Supreme] Court stressed that its decision ‘does not address the content

of the law that governs petitioners’ detention.’” Id. (quoting Boumediene, 553 U.S. at 798)

(emphasis in original). The Rasul panel concluded: “[w]ith those words, the Court in

Boumediene disclaimed any intention to disturb the existing law governing the extraterritorial

reach of any constitutional provisions, other than the Suspension Clause.” Id.3 This guidance

from the Court of Appeals constitutes one more reason why this Court should decline to extend

Boumediene as amici propose.4

       C.      The Precedent Foreclosing an Extension of the Fifth Amendment to
               Petitioner Remains Binding.
       Finally, the Court of Appeals identified a third reason why this Court should, and indeed,

must, reject amici’s argument: because the Supreme Court was clear that Boumediene addressed

only the reach of the Suspension Clause, the precedent barring extraterritorial application of the
       3
          Amici imply that the Court of Appeals used amici’s suggested approach in considering
the Ex Post Facto Clause and found that Clause to apply extraterritorially. Br. of Amici at 8
(citing Al Bahlul v. United States, 767 F.3d 1, 63 (D.C. Cir. 2014)). That is not so. In Al Bahlul,
the Court of Appeals merely “assume[d] without deciding” application of the Ex Post Facto
Clause. 767 F.3d at 18. Indeed, the Court cautioned that it was “not to be understood as
remotely intimating in any degree an opinion on the question” of application of the Clause. See
767 F.3d at 18 (emphasis added) (citation and internal quotation marks omitted). “Constitutional
rights are not defined by inferences from opinions which did not address the question at issue.”
Latif v. Obama, 677 F.3d 1175, 1184 (D.C. Cir. 2011) (quoting Texas v. Cobb, 532 U.S. 162,
169 (2001)).
       4
          As explained by the Court of Appeals in this case, Rasul did not definitely decide the
issue of whether Guantanamo detainees could avail themselves of procedural due process under
the Due Process Clause. See Rasul, 563 F3d at 529 (ultimately resting decision on qualified
immunity grounds). As discussed in Respondents’ Opposition brief, however, Qassim did no
more than state that the application of procedural due process in Guantanamo cases had not been
definitively decided, explaining that Kiyemba resolved only a substantive due process issue. See
Resps’ Opp’n at 37. Rasul, however, provides fulsome analytical guidance as to resolution of
the procedural due process issue; that is, although Qassim noted that the question had not been
definitely resolved, Rasul provides the analytical guidance on which the issue should be resolved
in this case, consistent with other precedent from the Supreme Court and the Court of Appeals
arising in other contexts involving individuals without property or presence in the United States.
See supra at 7–9.

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Due Process Clause to persons without property or presence in the United States continues to be

controlling. See Rasul, 563 F.3d at 529. Like amici here, see Br. of Amici at 6, the plaintiffs in

Rasul argued that “Boumediene has eroded the precedential force of [Johnson v.] Eisentrager[,

339 U.S. 763 (1950),] and its progeny,” see Rasul, 563 F.3d at 529, and urged the Court of

Appeals not to follow the holding of Eisentrager “that aliens detained on a U.S. military base

outside sovereign U.S. territory have no due process rights,” see id. (describing Eisentrager, 339

U.S. 763). The Court of Appeals, however, was clear—“[w]hether [Boumediene has eroded the

precedential force of Eisentrager] is not for us to determine: the [Supreme] Court has reminded

the lower federal courts that it alone retains the authority to overrule its precedents.” Id. (citing

Rodriquez de Quijas v. Shearson/Am. Express, Inc., 490 U.S. 477, 484 (1989)). This Court, no

less than the Court of Appeals, remains bound by Supreme Court precedent. See, e.g., United

States v. Campbell, 798 F. Supp. 2d 293, 303 (D.D.C. 2011) (citing Tenet v. Doe, 544 U.S. 1, 10-

11 (2005)) (“Only the Supreme Court has authority to overrule or vacate its decisions and a

lower court must not presume Supreme Court precedent has been limited or overruled absent

explicit indication.”).

        Amici contend that Eisentrager’s holding cannot control as to Petitioner’s rights in these

habeas proceedings, reasoning that Eisentrager held that aliens detained abroad could not bring

such actions in the first instance. See Br. of Amici at 6. However, in so arguing, amici overlook

that binding case law besides Eisentrager also has addressed the reach of the Due Process

Clause. Indeed, amici ignore that in Shaughnessy v. United States ex rel. Mezei, 345 U.S. 206

(1953), although the Supreme Court held that an alien detained at Ellis Island prior to entry into

the United States could “by habeas corpus test the validity of his exclusion,” id. at 213, the Due

Process Clause did not control the procedures available to him in such a hearing. Id. at 212–214.

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       The Court of Appeals has established the same principle. See United States v. Torres,

115 F.3d 1033, 1036 (D.C. Cir. 1997) (district courts are obligated to apply controlling Circuit

precedent unless that precedent has been overruled by the Court of Appeals en banc or by the

Supreme Court). In People’s Mojahedin Org. of Iran v. U.S. Dep’t of State, 182 F.3d 17 (D.C.

Cir. 1999), two foreign entities challenged the State Department’s decision to designate them as

“foreign terrorist organizations” under 8 U.S.C. § 1189. Id. at 18–19. The entities asserted that,

because the State Department had failed to “giv[e] them notice and opportunity to be heard,”

their designations violated procedural due process. Id. at 22. Relying on Eisentrager and its

progeny, the Court of Appeals rejected the entities’ constitutional claims, explaining that,

because the Due Process Clause does not extend to aliens without property or presence in the

United States, the entities “ha[d] no constitutional rights[] under the due process clause,” and

could assert “statutory rights only.” Id.; see also, e.g., Jifry v. FAA, 370 F.3d 1174, 1182 (D.C.

Cir. 2004) (“non-resident aliens who have insufficient contacts with the United States are not

entitled to Fifth Amendment protections”).

       In short, “[i]t is well established that certain constitutional protections available to

persons inside the United States are unavailable to aliens outside of our geographic borders.”

Zavydas v. Davis, 533 U.S. 678, 693 (2001) (citing United States v. Verdugo-Urquidez, 494 U.S.

259, 269 (1990) for its holding that the “Fifth Amendment’s protections do not extend to aliens

outside the territorial boundaries”). Thus, even if amici were correct that Boumediene—contrary

to the reasoning and plain language of that decision, see supra at 4–6—altered the reach of

constitutional provisions beyond the Suspension Clause, it would be for the Supreme Court alone

to modify the “emphatic” precedent “reject[ing] . . . the claim that aliens outside the sovereign



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territory of the United States are entitled to due process rights.” Rasul, 563 F.3d at 531 (quoting

Verdugo-Urquidez, 494 U.S. at 269).

        II.    Petitioner is Entitled to Meaningful Review of the Legality of His Detention,
               and Respondents Do Not Argue Otherwise.
        Amici jump from their argument that the Due Process Clause must apply here to the

conclusion that any opposition to that view amounts to a claim that Petitioner “has no

constitutional right to process in the course of habeas litigation” at all. Br. of Amici at 9. Amici

then argue against that claim, insisting that a habeas proceeding with no right to process would

effectively amount to a suspension of the writ. But that does not describe these proceedings.

        From the outset, when the Court instructed the parties to brief issues relating to the

procedural framework for these wartime constitutional habeas actions, see ECF No. 211 at 3,

Respondents have been guided by the “constitutionally-required elements of habeas identified by

Boumediene.” Gov’t’s Br. Regarding Procedural Framework Issues, ECF No. 217 at 7. As the

Court of Appeals explained in Al-Bihani v. Obama, “[t]he Supreme Court in Boumediene held

detainees are entitled to the ‘fundamental procedural protections of habeas corpus,’” including

“‘a meaningful opportunity to demonstrate that [they are] being held pursuant to the erroneous

application or interpretation of relevant law.’” 590 F.3d 866, 875 (D.C. Cir. 2010) (quoting

Boumediene, 553 U.S. at 779)). The Supreme Court indicated that “[m]eaningful review in this

context requires that a court have ‘some authority to assess the sufficiency of the Government’s

evidence against the detainee’ and to ‘admit and consider relevant exculpatory evidence’ that

may be added to the record by petitioners during review.” Id. (quoting Boumediene, 553 U.S. at

786).




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       As detailed in Respondents’ Opposition, see Resps’ Opp’n at 5–13, 28–34, Respondents

proposed—and this Court ultimately adopted—procedures that not only met the constitutional

threshold set forth in Boumediene, but were modeled on the Supreme Court’s guidance in Hamdi

v. Rumsfeld, 542 U.S. 507 (2004) (plurality), as to the process required with respect to a wartime

habeas case brought by a U.S. citizen detained in the United States. Respondents reasoned that

“the framework that the Supreme Court deemed constitutionally sufficient for citizens held as

wartime enemy combatants is more than constitutionally adequate for aliens captured under

similar circumstances and detained as wartime enemy combatants.” Gov’t’s Br. Regarding

Procedural Framework Issues, ECF No. 217 at 6; see id., generally. And as Respondents’

Opposition explains, the Court of Appeals has approved many aspects of the Amended Case

Management Order as consistent with the requirements of the Suspension Clause.

       Beyond Hamdi, Respondents and the Court also looked to post-conviction criminal

habeas cases in which the Due Process Clause inarguably applied to construct the procedural

framework for this litigation. For example, in crafting the governing case management order’s

automatic discovery provision, the Court relied on Harris v. Nelson, 394 U.S. 286 (1969), a case

addressing a criminal defendant’s challenge to a state court conviction. See Resps’ Opp’n at 29–

30 (discussing the development of Amended Case Management Order Section I.E.1). So, too,

with the provision controlling additional discovery in this litigation; there, the Court relied again

on Harris v. Nelson and on Bracy v. Gramley, 520 U.S. 899 (1997), another domestic criminal

habeas case. See Resps’ Opp’n at 30–32 (discussing the development of Amended Case

Management Order Section I.E.2). With respect to the treatment of classified information in

these cases, the Court and the parties largely were guided by the Classified Information

Procedures Act (“CIPA”), which governs the handling of classified information in domestic

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criminal proceedings. See Resps’ Opp’n at 26–28, 32–34 (discussing the development and

application of Amended Case Management Order Section I.F) (citing Al Odah v. United States,

559 F.3d 539 (D.C. Cir. 2009)).5 Indeed, as explained in Respondents’ Opposition, each facet of

the procedural framework that Petitioner challenges in his motion is grounded, in the first

instance, in a context in which the Due Process Clause applies. See Resps’ Opp’n at 28–34.

       Thus, amici’s argument that a habeas proceeding lacking the protections that the Supreme

Court contemplated in Boumediene would amount to a suspension of the writ lacks any

application to this case.

       III.    Extension of the Due Process Clause to These Proceedings Would Amount to
               an Extraterritorial Application Contrary to Well-Established Precedent
               Regarding the Reach of the Fifth Amendment.

       Finally, amici argue that the issue of whether Petitioner enjoys rights under the Due

Process Clause is “a question of what rules govern litigation in the United States District Court

for the District of Columbia,” rather than “a question of the rights of noncitizens outside the

United States.” Br. of Amici at 10. In short, according to amici, permitting Petitioner to avail

himself of the Due Process Clause in these proceedings would not amount to “extraterritorial

application” at all, id., because “litigation in federal courts inside the United States is always

governed by the Due Process Clause.” Id. at 12. Amici contend that this position finds support

in the Supreme Court’s discussion of “trial rights” in United States v. Verdugo-Urquidez, see id.,

and in the way the Court of Appeals framed the remand of this case, see id. at 11. Amici are

mistaken. Neither Supreme Court precedent nor any opinion of the Court of Appeals supports

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          Although the procedural framework in the Guantanamo habeas cases permits the
Government, in appropriate circumstances, to present on an ex parte basis highly sensitive
source-identifying information on which the Government seeks to rely, see Resps.’ Opp’n at 26
n. 10 (discussing case law), there is no reason to suppose at this stage of litigation that such an
unusual circumstance would arise in Petitioner’s case, as noted in Respondents’ Opposition. Id.

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the reframing amici propose; on the contrary, decisions of both courts demonstrate that, because

Petitioner is an alien with no property or presence in the United States, extension of the Due

Process Clause to this habeas proceeding would amount to an improper extraterritorial

application of the Clause.

       As to the Supreme Court precedent, United States v. Verdugo-Urquidez, on which amici

rely, see Br. of Amici at 10–11, is inapposite as to the question of “trial rights.” Verdugo-

Urquidez was a criminal case in which the United States arrested a citizen of Mexico, transported

him to the United States, and tried him domestically for criminal offenses. Verdugo-Urquidez,

494 U.S. at 262. Although that case addressed whether the Fourth Amendment extended

extraterritorially to the search of the defendant’s property in Mexico, see id. at 263–69, there was

no occasion to consider “the rights of noncitizens outside the United States,” Br. of Amici at 10,

in civil proceedings since the defendant was present in the United States for his criminal trial. In

other words, the contours of the trial rights were “obvious,” id., because the Supreme Court was

discussing the criminal prosecution of a defendant present on U.S. soil. See 494 U.S. at 264

(“the Fifth Amendment is a fundamental trial right of criminal defendants”) (emphasis added);

id. at 278 (Kennedy, J., concurring) (“The United States is prosecuting a foreign national in a

court established under Article III, and all of the trial proceedings are governed by the

Constitution.”); id. at 279 (Stevens, J., concurring) (observing that the defendant was “surely” an

“alien[] who [is] lawfully present in the United States”). That the Court was clear as to the full

panoply of Constitutional trial rights enjoyed by a criminal defendant located in the United States

says nothing regarding what rights might attach when a habeas case or other civil suit is brought

by an alien without property or presence in the United States.



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        Moreover, the Supreme Court in Verdugo-Urquidez characterized broadly the holding in

Eisentrager, observing that the Supreme Court’s “rejection of extraterritorial application of the

Fifth Amendment was emphatic.” 494 U.S. at 269. Indeed, the Court of Appeals subsequently

relied on Verdugo-Urquidez in rejecting the procedural due process claims of entities that had

been designated as foreign terrorist organizations and lacked property or presence in the United

States. See People’s Mojahedin of Iran, 182 F.3d at 22 (citing Verdugo-Urquidez, 494 U.S. at

271).

        But, although Verdugo-Urquidez does not address the question of rights that might attach

in habeas proceedings brought by an alien detained outside the United States, Shaughnessy v.

United States ex rel. Mezei, 345 U.S. 206 (1953) does. As discussed above, the Supreme Court

in Ex rel. Mezei held that an alien who had landed on Ellis Island but had not entered the United

States could bring a habeas petition challenging his detention, but could not invoke the Due

Process Clause with respect to the process afforded to him in that habeas action. See supra at 7

(discussing Ex rel. Mezei). As that case illustrated, amici are wrong in claiming that “litigation

in federal courts inside the United States is always governed by the Due Process Clause.” Br. of

Amici at 12; see also People’s Mojahedin of Iran, 182 F.3d at 22 (holding that entities without

property or presence in the United States had no procedural due process rights under the

Constitution).

         Amici’s assertion that “the Constitution always governs the conduct of litigation in

United States courts,” Br. of Amici at 11, assumes, once again, that either the Due Process Clause

applies, or Petitioner has no Constitutional protection at all. This is a false dichotomy. As

discussed above, without question, Petitioner is constitutionally “entitled to the ‘fundamental

procedural protections of habeas corpus.’” Al-Bihani, 590 F.3d at 875 (quoting Boumediene, 553

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U.S. at 798); see supra at 9 (discussing the procedural requirements enumerated in Boumediene).

The procedural framework currently governing this habeas litigation—and wholly overlooked by

amici in their submission—meets and exceeds those requirements, having been largely modeled

on contexts in which the Due Process Clause does apply. See supra at 10–11. The Constitution

requires nothing more.

                                         CONCLUSION

       For all these reasons, and the reasons explained in Respondents’ Opposition, the Court

should deny the Petitioner’s Motion.



Dated: May 3, 2020                     Respectfully submitted,


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